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                            UNITED STATES JUDICIAL PANEL
                                         on
                             MULTIDISTRICT LITIGATION


IN RE: INCLUSIVE ACCESS COURSE MATERIALS
ANTITRUST LITIGATION                                                                MDL No. 2946



                                      TRANSFER ORDER


        Before the Panel: Defendants McGraw Hill LLC, Pearson Education, Inc., Cengage
Learning, Inc., Barnes & Noble College Booksellers, LLC, Barnes & Noble Education, Inc., and
Follett Higher Education Group, Inc., move under 28 U.S.C. § 1407 to centralize this litigation in
the District of Delaware. The litigation consists of the nine actions listed on the attached Schedule
A, six in the District of New Jersey, and one each in the District of Delaware, the Northern District
of Illinois, and the Southern District of New York. The Panel has been notified of six potentially
-related actions.1

         Responding plaintiffs’ positions on centralization vary. Plaintiffs in District of Delaware
Campus Book oppose inclusion of their action in the proposed MDL. Plaintiffs in seven District of
New Jersey actions2 (the New Jersey Plaintiffs) oppose centralization in favor of transfers of the
Illinois and New York actions to New Jersey under 28 U.S.C. § 1404(a). In the alternative, the New
Jersey Plaintiffs support centralization of all actions except Campus Book in the District of New
Jersey.3 Plaintiffs in the District of New Jersey Belen, Northern District of Illinois Kinskey, and
Southern District of New York Uchenik and Cabral actions support centralization of all actions
except Campus Book in the Southern District of New York.4 In the alternative, the Kinskey plaintiff
argues for centralization in the Northern District of Illinois.

       After considering the arguments of counsel,5 we find that these actions involve common

       1
                These and any other related actions are potential tag-along actions. See Panel Rules
1.1(h), 7.1, and 7.2.
       2
               The actions are the Barabas, Warman, Pica, Puleo, and Gordon constituent actions
and the Aliperto and Lopez potential tag-along actions.
       3
                Plaintiffs in the District of New Jersey Pelletier tag-along action support
centralization in the District of New Jersey, in the first instance.
       4
               The Capral action is a potential tag-along action.
       5
               In light of the concerns about the spread of COVID-19 virus (coronavirus), the Panel
                                                                                     (continued...)
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questions of fact, and that centralization – of all actions – will serve the convenience of the parties
and witnesses and promote the just and efficient conduct of this litigation. These actions share
multiple factual issues concerning “Inclusive Access,” a subscription and distribution service that
provides access to digital course content when academic instructors opt to use interactive courseware
platforms or e-textbooks instead of paper textbooks and materials. Plaintiffs allege that defendants
conspired to create Inclusive Access in order to monopolize the market for the sale of course
materials for any courses and at any institutions using the Inclusive Access service, and thereby to
raise the prices of textbooks and related course materials. Centralization will eliminate duplicative
discovery, the possibility of inconsistent rulings on class certification and other pretrial matters, and
conserve judicial and party resources.

         Plaintiffs’ arguments against inclusion of Campus Book in the centralized proceedings are
unconvincing. Plaintiffs make three principal arguments: (1) the putative retailer class in Campus
Book does not overlap with the putative student-purchaser classes in the other cases; (2) the Campus
Book plaintiffs assert some causes of action not found in the other actions, including a claim for
violation of the Robinson-Patman Act, as well as state law antitrust and unjust enrichment claims;
and (3) Campus Book is more advanced than the other actions. But the Panel frequently centralizes
litigations involving differently-situated plaintiffs and differently-defined putative classes, where,
as here, all actions arise from a common factual core. See, e.g., In re Keurig Green Mountain
Single-Serve Coffee Antitrust Litig., 24 F. Supp. 3d 1361, 1362 (J.P.M.L. 2014) (centralizing
litigation consisting of direct purchaser class actions, indirect purchaser class actions, and
individual actions brought by competitors, where all actions “raise[d] virtually identical factual
questions concerning the conduct of [the defendant].”); see also In re Home Depot, Inc., Customer
Sec. Data Breach Litig., 65 F. Supp. 3d 1398, 1399-1400 (J.P.M.L. 2014) (centralizing actions
brought by consumers with actions brought by financial institutions, where all actions arose from
the same data breach). And, “where common factual issues exist, the presence of different legal
theories among the actions is not a bar to centralization.” In re Pacquiao-Mayweather Boxing Match
Pay-Per-View Litig., 122 F. Supp. 3d 1372, 1374 (J.P.M.L. 2015). Finally, although Compass
Book is marginally more advanced than the other actions, “[i]t is frequently the case . . . that actions
transferred to an MDL are in somewhat varying procedural postures.” In re TR Labs Patent Litig.,
896 F. Supp. 2d 1337, 1338 (J.P.M.L. 2012). The transferee judge can use separate tracks or other
appropriate pretrial techniques to address any issues specific to Campus Book.

       As mentioned, the New Jersey Plaintiffs argue that in lieu of centralization, the actions other
than Campus Book should be consolidated, via Section 1404 transfers, in the District of New Jersey.
This argument is not persuasive. First, plaintiffs’ proposal omits Campus Book, which we have
concluded should be included in the MDL. Second, the parties in the actions outside New Jersey all
oppose transfer of their respective actions, and neither the Northern District of Illinois court nor the
Southern District of New York court has ruled on any Section 1404 motion. See In re Natrol, Inc.,


        5
        (...continued)
heard oral argument by video conference at its hearing session of July 30, 2020. See Suppl. Notice
of Hearing Session, MDL No. 2946 (J.P.M.L. July 14, 2020), ECF No. 61.
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Glucosamine/Chondroitin Mktg. & Sales Practices Litig., 26 F. Supp. 3d 1392, 1393 (J.P.M.L.
2014). Third, with six potential tag-along actions already on file, the possibility of additional actions
cannot be discounted. See id.

        We select the Southern District of New York as the transferee district. Two actions are
pending in the Southern District of New York. In addition, defendant McGraw Hill is headquartered
in the district, and the Barnes & Noble and Pearson defendants are located in northern New Jersey.
Relevant documents and witnesses thus likely will be found in or near the Southern District of New
York. The Honorable Denise L. Cote, to whom we assign the litigation, is a veteran transferee judge.
We are confident that she will steer this litigation on a prudent course.

        IT IS THEREFORE ORDERED that the actions listed on Schedule A and pending outside
the Southern District of New York are transferred to the Southern District of New York, and, with
the consent of that court, assigned to the Honorable Denise L. Cote for coordinated or consolidated
pretrial proceedings.


                                         PANEL ON MULTIDISTRICT LITIGATION




                                                         Karen K. Caldwell
                                                               Chair

                                        Ellen Segal Huvelle                 R. David Proctor
                                        Catherine D. Perry                  Nathaniel M. Gorton
                                        Matthew F. Kennelly                 David C. Norton
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IN RE: INCLUSIVE ACCESS COURSE MATERIALS
ANTITRUST LITIGATION                                              MDL No. 2946


                                      SCHEDULE A


           District of Delaware

     CAMPUS BOOK COMPANY, INC., ET AL. v. MCGRAW-HILL GLOBAL
         EDUCATION HOLDINGS, LLC, ET AL., C.A. No. 1:20-00102

           Northern District of Illinois

     KINSKEY, ET AL. v. CENGAGE LEARNING, INC., ET AL., C.A. No. 1:20-02322

           District of New Jersey

     BARABAS v. BARNES & NOBLE COLLEGE BOOKSELLERS, LLC, ET AL.,
           C.A. No. 3:20-02442
     PICA v. BARNES & NOBLE COLLEGE BOOKSELLERS, LLC, ET AL.,
           C.A. No. 3:20-04856
     WARMAN v. BARNES & NOBLE COLLEGE BOOKSELLERS, LLC, ET AL.,
           C.A. No. 3:20-04875
     PULEO v. BARNES & NOBLE COLLEGE BOOKSELLERS, LLC, ET AL.,
           C.A. No. 3:20-04990
     BELEN v. MCGRAW HILL, LLC, ET AL., C.A. No. 3:20-05394
     GORDON, ET AL. v. BARNES & NOBLE COLLEGE BOOKSELLERS, LLC,
           ET AL., C.A. No. 3:20-05535

           Southern District of New York

     UCHENIK v. MCGRAW HILL, LLC, ET AL., C.A. No. 1:20-03162
